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                              TRANSCRIPT ORDER
                      Case 1:15-cv-00042-RP       FORM
                                            Document    INSTRUCTIONS
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                    INSTRUCTIONS FOR ANYONE FILING A NOTICE OF APPEAL
1. Complete Part 1. Whether or not transcripts are being ordered. A single order form should be used for
the same court reporter with multiple proceedings (if the number of proceedings exceed the form
limitations, additional forms may be used).

2. Contact each court reporter involved in reporting the proceedings to make arrangements for payment.
A SEPARATE ORDER FORM MUST BE COMPLETED FOR EACH COURT REPORTER.

3. Send a copy of the form to the court reporter (via email or mail, ask court reporter). CJA counsel must
also enter an Authorization-24 in the U. S. District Court’s eVoucher System. Once the Authorization-24
is approved, create the CJA 24 eVoucher for payment.

4. File a copy of this form with the District Court.

5. File a copy of this form with the U.S. Court of Appeals for the Fifth Circuit (Attorneys must e-file. Pro
se filers must mail form unless authorized to e-file).

6. Send a copy to other parties.

7. Retain a copy for your files.

FAILURE TO MAKE SATISFACTORY ARRANGEMENTS FOR TRANSCRIPT PRODUCTION,
INCLUDING FINANCIAL ARRANGEMENTS WITHIN 14 DAYS OF THE FILING OF THE NOTICE
OF APPEAL, MAY RESULT IN THE DISMISSAL OF YOUR APPEAL.

This is an electronic version of the original multipart form. It is your responsibility for ensuring that the
correct number of copies are made to meet the distribution requirements.

                                     INSTRUCTIONS TO COURT REPORTER
To assure the Court of Appeals that the ordering party has fulfilled his or her obligations under FRAP 10(b), for
ordering and making adequate financial arrangements with the court reporter, you are requested to complete Part
II and file with the Court of Appeals within ten (10) days after receipt. For information on becoming an e-filer,
please contact a deputy clerk at the number below.

It is the appellant's responsibility to contact you and make financial arrangements before filling out the form.
However, if financial arrangements have not been made within ten (10) days after receipt of transcript order,
complete Part II and file with the Court of Appeals. If financial negotiations with the ordering party are still in
progress when the 10 days expires, contact a deputy clerk for additional time to complete this form.

If financial arrangements are made after you have notified the Court of Appeals that no financial arrangement
were made, immediately notify the Court in writing of the fact, furnishing the estimated delivery date.

THE JUDICIAL COUNCIL'S DISCOUNT DATE BEGINS TO RUN FROM THE DATE SATISFACTORY
FINANCIAL ARRANGEMENTS HAVE BEEN MADE.

WRITTEN REQUEST FOR EXTENSION OF TIME WITH EXPLANATION OF CIRCUMSTANCES AND A
REQUEST FOR WAIVER OF DISCOUNT MUST BE ADDRESSED TO THE CLERK OF THE CIRCUIT COURT.

Link to contact information: Contact Clerk's Office About My Case or call:
NORTHERN AND WESTERN TEXAS CASE TEAM: 504-310-7806
SOUTHERN AND EASTERN TEXAS CASE TEAM: 504-310-7807
LOUISIANA, MISSISSIPPI, & AGENCY CASE TEAM: 504-310-7808
